            Case 2:20-cr-00361-KJD-VCF Document 72 Filed 09/27/21 Page 1 of 2




1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***
      UNITED STATES OF AMERICA,
4
                           Plaintiff,
5                                                         2:20-cr-00361-KJD-VCF
      v.                                                  ORDER RESCHEDULING EVIDENTIARY
6     ADRIAN ANTONIO ANGUIANO,                            HEARING
7                           Defendant.
8

9           Due to a conflict on the court’s calendar, the in-person evidentiary hearing scheduled for 1:00 PM,
10   November 15, 2021, is RESCHEDULED to 10:00 AM, December 10, 2021.
11          Temporary General Order 2020-05 authorizes the use of video conferencing (or telephone
12   conferencing if video conferencing is not reasonably available) with the consent of the defendant after
13   consultation with counsel.
14          Accordingly,
15          IT IS HEREBY ORDERED that an in-person evidentiary hearing is RESCHEDULED to 10:00
16   AM, December 10, 2021, in Courtroom 3D, on Defendant Adrian Antonio Anguiano’s Motion to
17   Suppress (ECF No. 49). Defendant Anguiano will appear by video conference.
18          The parties are directed to file a Joint Status Report (1) advising whether the defendant consents
19   to proceed with the hearing as scheduled but using video conferencing, and (2) either (a) explaining why
20   the hearing cannot be further delayed without serious harm to the interests of justice, or (b) advising
21   whether the parties agree to a continuance, indicating the maximum length of time for such a continuance.
22   The Joint Status Report for the hearing must be filed by 12:00 PM, December 9, 2021.
23          IT IS ORDERED that defense counsel shall provide all necessary documents to defendant in
24   advance of the hearing.
25
            Case 2:20-cr-00361-KJD-VCF Document 72 Filed 09/27/21 Page 2 of 2




1           IT IS FURTHER ORDERED that defense counsel shall contact the Courtroom Administrator,

2    Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with information on how defendant will participate

3    in the video conference by 12:00 PM, December 9, 2021. Defendant will remain at Nevada Southern

4    Detention Center.

5           IT IS FURTHER ORDERED that Defense/AUSA shall file any necessary signed documents at

6    least ONE (1) Day prior to the scheduled hearing consistent with General Order 2020-05.

7           IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:

8           INSTRUCTIONS FOR THE VIDEO CONFERENCE

9           Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing

10   to the participants email provided to the Court.

11          • Log on to the call ten (10) minutes prior to the hearing time.

12          • Mute your sound prior to entering the hearing.

13          • Do not talk over one another.

14          • State your name prior to speaking for the record.

15          • Do not have others in the video screen or moving in the background.

16          • No recording of the hearing.

17          • No forwarding of any video conference invitations.

18          • Unauthorized users on the video conference will be removed.

19          For anyone who is not a party to the action, the call-in telephone number is (888) 273-3658, access

20   code: 3912597, and the phone must be on mute. The call must be made five minutes prior to the hearing

21   time. The court will join the call and convene the proceedings. Recording of the proceedings is prohibited.

22

23          DATED this 27th day of September, 2021.
                                                                  ___________________________
24
                                                                  CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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